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                                                         U.S. Department of Justice

                                                         Channing D. Phillips
                                                         Acting United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530


                                                       May 26, 2021

John Pierce
Ramsey Kaddoura
Michael Ramsey
Pierce Bainbridge P.C.
355 S. Grand Avenue, 44th Floor
Los Angeles, CA 90071

       Re:      United States v. Christopher Worrell
                Case No. 21-CR-292 RCL

Dear Counsel:

        We have uploaded discovery in this case to USAFx. You should have received several
invitations to the USAFx folder containing the discovery, which is contained in a folder called
“Worrell_01”.

       Summary of Materials Provided. As further described in the provided index, the
discovery includes FBI reports, search warrants and related materials (e.g., the photographs taken
during execution of the search), and other materials. The discovery should also include a PDF
copy of your client’s Facebook account and a return from Verizon wireless with information
regarding his cell phone. Certain photographs and videos from your client’s Facebook account
that were not processed will be provided in the next round of discovery.

        Manner of Production. This production is being transmitted via USAfx, so please be
sure to download the entire folder, including all subfolders and files contained within the
subfolders exactly as it was provided immediately upon receipt to your own storage media.

       This production contains the following:
       • A “PDF” folder containing the discovery in searchable PDF format.
       • A “NATIVE” folder of documents that cannot be converted to PDFs such as
       audio/video recordings. Files that could not be converted to PDF will have a
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       “placeholder” in the “PDF” folder that references the native file. You will find the
       referenced file by navigating to the corresponding Bates number in the NATIVE folder.
       • An index of the production, provided in both Excel and Adobe PDF formats.

If you would like this production in load files for creating a document review database (e.g.,
Relativity) please let me know and we will provide load files.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        Technical Assistance. CJA panel counsel and Assistant Federal Public Defenders with
technical discovery questions or those who need of assistance managing the discovery in this
case can contact Kelly Scribner (kelly_scribner@fd.org) with the Defender Services Office -
National Litigation Support Team. While Ms. Scribner is not specifically tasked with assisting
retained counsel, she is willing to talk with you about your discovery issues on a limited basis.
However, the National Litigation Support Team typically cannot support retained defense
counsel as the National Litigation Support Team is funded to assist CJA panel counsel and
Federal Public Defender offices appointed through the CJA Act.

        Voluminous Materials. Due to the extraordinary nature of the January 6, 2021 Capitol
Attack, the government anticipates that a large volume of materials may contain information
relevant to this prosecution. These materials may include, but are not limited to, surveillance
video, body worn camera footage, statements of similarly situated defendants, forensic searches
of electronic devices and social media accounts of similarly situated defendants, and citizen tips.
The government is working to develop a system that will facilitate access to these materials. In
the meantime, please let me know of any specific information that you believe is particularly
relevant to your client.

        Protective Order. This material is subject to the terms of the Protective Order issued in
this case.

        Timing of Disclosures. I recognize the government’s discovery obligations under Brady
v. Maryland, 373 U.S. 83 (1963), its progeny, and Rule 16. I will provide timely disclosure if
any such material comes to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will
provide information about government witnesses prior to trial and in compliance with the court’s
trial management order.

         Reciprocal Discovery. I request reciprocal discovery to the fullest extent provided by
Rule 16 of the Federal Rules of Criminal Procedure, including results or reports of any physical
or mental examinations, or scientific tests or experiments, and any expert witness summaries. I
also request that defendant(s) disclose prior statements of any witnesses defendant(s) intends to
call to testify at any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S.
255 (1975). I request that such material be provided on the same basis upon which the
government will provide defendant(s) with materials relating to government witnesses.

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        Notice of Defenses. Additionally, pursuant to Federal Rules of Criminal Procedure 12.1,
12.2, and 12.3, I request that defendant(s) provide the government with the appropriate written
notice if defendant(s) plans to use one of the defenses referenced in those rules. Please provide
any notice within the time period required by the Rules or allowed by the Court for the filing of
any pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                    Sincerely,


                                                    /s/ William Dreher
                                                    William Dreher
                                                    Assistant United States Attorney
Enclosure(s)
cc:




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